
The People of the State of New York, Respondent, 
againstRay E. Shain, Appellant.




Ray E. Shain, appellant pro se.
Nassau County Attorney's Office (Samantha A. Goetz of counsel), for respondent.

Appeal from a judgment of the District Court of Nassau County, Nassau County Traffic and Parking Violations Agency (Claire I. Weinberg, J.H.O.), rendered November 13, 2014. The judgment convicted defendant, after a nonjury trial, of parking a motor vehicle on a public highway with an expired certificate of inspection.




ORDERED that the judgment of conviction is reversed, on the law, the appearance ticket is dismissed, and the fine, if paid, is remitted.
On March 4, 2014, at 10:47 a.m., an unsigned appearance ticket was issued pertaining to a 2004 red two-door Chrysler with New York State license plate number BXX5067, located at "COUNTY LOT 14" in Mineola, for parking a motor vehicle on a public highway with an expired certificate of inspection in violation of Vehicle and Traffic Law § 306 (b). Following a nonjury trial, defendant was convicted of the offense.
An appearance ticket is not an accusatory instrument and its filing does not confer upon the court jurisdiction over the matter (see People v Scott, 3 NY2d 148 [1957]; People v Tarnoff,54 Misc 3d 139[A], 2017 NY Slip Op 50151[U] [App Term, 2d Dept, 9th &amp; 10th Jud Dists 2017]; People v Needleman, 35 Misc 3d 149[A], 2012 NY Slip Op 51118[U] [App Term, 2d Dept, 9th &amp; 10th Jud Dists 2012]; People v Horner, 176 Misc 2d 93 [App Term, 2d Dept, 9th &amp; 10th Jud Dists 1998]; People v Gabbay, 175 Misc 2d 421 [App Term, 2d Dept, 9th &amp; 10th Jud Dists 1997]). Rather, CPL 150.50 (1) provides that, prior to the return date of an appearance ticket, a legally sufficient local criminal court accusatory instrument shall be filed. Here, there is no indication in the record before us that a proper accusatory instrument was ever filed with the court (see CPL 150.50).
Accordingly, the judgment of conviction is reversed and the appearance ticket is dismissed (see Tarnoff,54 Misc 3d 139[A], 2017 NY Slip Op 50151[U]; Gabbay, 175 Misc 2d at 422).
MARANO, P.J., GARGUILO and RUDERMAN, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: August 30, 2018










